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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

REYNA ANGELINA ORTIZ                                )
(legal name RAYMOND ORTIZ), et al.                  )
                                                    )
              Plaintiffs,                           )      No. 19 CV 2923
                                                    )
       v.                                           )      Judge Charles P. Kocoras
                                                    )      Magistrate Judge Susan E. Cox
KIMBERLY M. FOXX, not personally but                )
solely in her capacity as Cook County State’s       )
Attorney, et al.,                                   )
                                                    )
              Defendants.                           )

            DEFENDANT KIMBERLY M. FOXX’S REPLY IN SUPPORT OF
                     MOTION TO DISMISS COMPLAINT

       Defendant Kimberly M. Foxx (“the State’s Attorney”), by counsel, respectfully submits

this Reply Memorandum in Support of her Motion to Dismiss Plaintiff’s Complaint

(“Complaint”).

                                      INTRODUCTION

       Plaintiffs, eight transgender women with criminal convictions, have brought suit against

Cook County State’s Attorney Kimberly M. Foxx and two State of Illinois judges, Timothy C.

Evans and Sharon M. Sullivan, each in their official capacities only. (Compl. at ¶¶1, 4, ECF No.

1.) Plaintiffs allege that, because of their convictions of certain felonies or misdemeanors, the

Illinois name change statute (735 ILCS 5/21-101 et seq., “the name change statute” or “the

statute”), violates the United States Constitution because it prevents them from changing their

legal names to match their chosen names. (Compl. at ¶¶1, 3, ECF No. 1.)

       The State’s Attorney and all other defendants have moved to dismiss under Federal Rules

of Civil Procedure 12(b)(1) and 12(b)(6) and submitted their respective memoranda in support.



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ECF. Nos. 23-26. See FED. R. CIV. P. 12(b)(1), 12(b)(6). This memorandum is the State’s

Attorney’s Reply to Plaintiffs’ Combined Response to Defendants’ Motions to Dismiss

(“Plaintiffs’ Response”). (Pls.’ Resp., ECF No. 31.)

                                           ARGUMENT

       Every Plaintiff must establish Article III standing to invoke the federal court’s subject

matter jurisdiction as a threshold matter. Plaintiff’s Complaint fails to demonstrate how they

have standing to sue the State’s Attorney, and should therefore be dismissed pursuant to FED. R.

CIV. P. 12(b)(1) for lack of subject matter jurisdiction. Plaintiffs further fail to establish this

Court’s jurisdiction because their claims against the State’s Attorney are barred by the Eleventh

Amendment. Similarly, Plaintiffs Complaint fails to state a claim, and should be dismissed

under FED. R. CIV. P. 12(b)(6).

       I.      The Pre-2010 Name Change Plaintiffs Have Not Pled a Legally Actionable
               Injury or Claim Connected to the State’s Attorney

       The State’s Attorney has moved for dismissal of Plaintiffs’ Complaint as to the Pre-2010

Name Change Plaintiffs based in part on the failure of their Complaint to plead an injury, such

that they cannot establish standing or state a claim.

       To support their contention that they have suffered an injury and pled a legally viable

claim, the Pre-2010 Name Change Plaintiffs point to paragraphs 117 through 121 of their

Complaint. (Pls’. Resp. 8, ECF No. 31.) Those paragraphs, however, describe how the Pre-2010

Name Change Plaintiffs “adopted and lived under their chosen names prior to July 1, 2010,”

such that they “legally changed their names pursuant to the common law,” prior to a July 2010

amendment to the Illinois Name Change Statute that invalidated common law name changes “on

or after July 1, 2010[.]” (Compl. at ¶¶ 117, 118, 120; ECF No. 1.) In their Response, these

Plaintiffs do not claim that the legal effect of the Illinois name change statute has caused their

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alleged injuries. Rather, they argue that the “practical consequence of the Statute has been to

retroactively invalidate their common law name changes.” (Pls’. Resp. 8, 9, ECF No. 31.)

       The Pre-2010 Plaintiffs fail to demonstrate, however, how the Illinois Name Change

Statute or any action of the State’s Attorney in relation to that statute led to that practical effect.

In their Complaint and Response, these Plaintiffs argue that they have been unable to change

their names on their government-issued identification, leading to a cascade of negative

consequences. (Pls.’ Resp. 8, see generally Compl., ECF No. 1.) However, the Pre-2010 Name

Change Plaintiffs have failed to establish how those consequences are the result of the name

change statute or caused by the actions of the State’s Attorney in relation to the statute. (See

Pls.’ Resp. 9, ECF No. 31.) 1

       Even if the Pre-2010 Name Change Plaintiffs have sufficiently pled legally cognizable

injuries, their inability to change the names on their government-issued identifications has no

nexus to the State’s Attorney as it is not the State’s Attorney’s role to issue government

identification. (See Compl. at ¶120, ECF No. 1.) Furthermore, these Plaintiffs lack standing to

sue the State’s Attorney for injuries caused by the refusal of third parties to recognize Plaintiffs’

legally assumed names, even if that third-party’s refusal is unjustified or potentially unlawful.

While Plaintiffs argue this case should hinge on the “particular circumstances” and “individual

application facts” of their cases, their Complaint makes no allegation that Plaintiffs attempted to

change their government-issued identifications or that these Plaintiffs would be prevented from

doing so by operation of the name change statute or any action of the State’s Attorney. (Pls.’

Resp. 9, ECF No. 31; see also Compl., ECF No. 1.) Especially as to the Pre-2010 Name Change

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  Despite Plaintiffs’ assertion in their Response of a dispute ripe for trial, the State’s Attorney has
not challenged the factual allegations of Plaintiff’s claims in her Motion to Dismiss; however,
“legal conclusions and conclusory allegations … are not entitled to [a] presumption of truth[.]”
McCauley v. City of Chicago, 671 F.3d 611, 616 (7th Cir. 1011) (citation omitted).
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Plaintiffs, there is simply no nexus between the State’s Attorney and Plaintiffs’ claims of injury.

Thus, Plaintiffs have failed to establish standing.

       II.     Plaintiffs’ Injuries Are Not Caused by the State’s Attorney and Cannot be
               Redressed by a Suit Against Her; She Does Not Enforce the Statute.

       Even if they have pled injuries, all Plaintiffs lack standing because the State’s Attorney is

not connected to the enforcement of the allegedly unconstitutional name change statute. Again,

while Plaintiffs argue in their Response that this Court must consider their “particular

circumstances” and “individual application facts” when deciding whether they have pled a claim,

their Complaint raises no allegation that the State’s Attorney has performed or even threatened to

perform the actions they argue would be unconstitutional. Id. In their Complaint and Response,

Plaintiffs repeat that the name change statute permits the State’s Attorney to file written

objections and/or request that a petitioner be ordered to update his or her criminal history

transcript with the State Police. (Compl., ECF No. 1; Pls.’ Resp. 10., ECF No. 31), see 735

ILCS 5/21-102(b). Citing these two provisions of the statute, Plaintiffs argue that the State’s

Attorney “is charged with raising objections and criminal history issues demonstrating why

Plaintiffs’ name change petitions should not be granted.” (Pls.’ Resp at 10, ECF No. 31.)

However, the State’s Attorney is not mandated to perform either of those tasks. Rather, the

statute gives her (and others) the option – not the obligation – to perform them. 735 ILCS 5/21-

101 et. seq.

       A petitioner updating his or her criminal history transcript serves to ensure the

petitioner’s transcript matches the petitioner’s requested name. It does not, as Plaintiffs argue,

have the effect of “raising … criminal history issues demonstrating why Plaintiff’s name change

petitions should not be granted.” (Pls.’ Resp. 10, ECF No. 31.) A petitioner him- or herself

would have already raised those issues, since the statute requires a name change petitioner to

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include a statement within the petition as whether or not the petitioner, “has been adjudicated or

convicted of a felony or misdemeanor offense under the laws of this State or any other state for

which a pardon has not been granted[.]” 735 ILCS 5/21-102(b). Thus, even if the State’s

Attorney chose to request the court to order updated transcripts – which the statute only allows

her to do if the petitioner’s statement affirmatively indicates potentially disqualifying criminal

history – doing so would not necessarily affect whether or not Plaintiffs’ petitions were

successful. Id.

       The State’s Attorney is further removed from any enforcement of the statute because

nothing in the statute requires the court to grant the State’s Attorney’s request, even if she were

to make it. Id. Only the court can order the petitioner to update his or her transcripts. The court

can also order the petitioner to conduct an update on its own motion, even in the absence of a

request from the State’s Attorney. Id. Plaintiffs have made no showing that a request was made

by the State’s Attorney here.

       Similarly, the State’s Attorney has only the option, but not the obligation, to file written

objections to name change petitions. Again, Plaintiffs have made no showing that an objection

was made by the State’s Attorney here.         Even so, as set forth in the State’s Attorney’s

Memorandum in Support, the State’s Attorney is not a proper defendant because she lacks any

enforcement authority to grant or deny petitions brought under the name change statute. (See

State’s Attorney’s Mem. in Supp. 10-12, ECF No. 23.) Plaintiffs’ Response has not refuted this,

and their only response is that the State’s Attorney’s argument “would point to the Judge

Defendants as the property party defendants, as they are the sole officials charged with enforcing

the Ten-Year and Lifetime Prohibitions to prevent the filing of name change petitions.” (Pls.’

Resp. 11, ECF No. 31 (emphasis added)). While it is not the State’s Attorney’s role to opine



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whether Plaintiffs have properly named other defendants in this case or sufficiently pled a case

against them, this portion of Plaintiff’s Response is significant because it concedes that the

State’s Attorney is not charged with enforcing the portions of the statute they claim causes their

injuries. Id.

        Plaintiffs’ Response further fails to distinguish the Seventh Circuit’s reasoning in Doe v.

Holcomb from the facts of this case regarding the State’s Attorney’s lack of authority to grant or

deny name change petitions.       883 F.3d 971 (7th Cir. 2018).        In Holcomb, the plaintiff

unsuccessfully sued various Indiana state officials in their official capacities, alleging that the

Indiana name change statute was unconstitutional because it required petitioners to prove U.S.

citizenship. Id. at 975. Plaintiffs agree that the Holcomb court held the plaintiff lacked standing

to sue the clerk of court because the clerk “has no power to grant or deny a petition” and lacks

authority to screen them. (Pls.’ Resp. 12, ECF No. 31), Holcomb at 979. Those factors,

according to the Holcomb court, demonstrated how the plaintiff “failed to show that the [c]lerk

has any authority in the name-change process.” Holcomb at 979.

        Plaintiffs incorrectly cite this language – that the clerk “has no ‘authority in the name-

change process’” – as one of several reasons the Holcomb plaintiff was found to lack standing.

(Pls.’ Resp. 12, ECF No. 31), Holcomb at 979. Instead, a close reading of the case reveals that,

while the clerk did play some role by accepting and processing name change petitions, the

Holcomb court found that the clerk could not be sued because its inability to grant, deny or

screen the petitions constituted an ultimate lack of authority in the name change process.

Holcomb at 979.

        While the Illinois statute may allow the State’s Attorney to file objections or request the

court to order updates to criminal history transcripts, those tasks give her no authority over the



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proceedings or the outcome. She does not enforce those provisions of the statute nor determine

the result of her request or objection. Like the clerk in Holcomb, the State’s Attorney does not

serve as the gatekeeper to the Plaintiffs petitions for a name change, nor can she grant or deny

them. While the State’s Attorney is, at her option, afforded some role in the process, she has no

authority to decide, effectuate, or enforce the result. The Holcomb decision entirely supports

dismissal of Plaintiffs’ Complaint against the State’s Attorney.

       As cited in the State’s Attorney’s Memorandum in Support, this case is also similar to

Watford v. Quinn, 2014 U.S. Dist. LEXIS 92477 (S.D. Ill. July 8, 2014). The Holcomb court

noted in its decision that, in Watford, “an Illinois statute prohibiting prisoners from petitioning

for name changes ‘makes clear that it is the exclusive prerogative of the state circuit courts, not

the Governor, to grant a name change,’” such that, “consequently, the Eleventh Amendment

barred the suit against the governor.”     Holcomb at 976 (citing Watford v. Quinn at *2-3)

(emphasis added). Similarly, it is not the State’s Attorney’s prerogative to grant or deny a name

change. Thus Plaintiff’s Complaint against her is barred by the Eleventh Amendment.

       Plaintiffs’ argument that barring the State’s Attorney from objecting to their petitions is

necessary in order for Plaintiffs to obtain relief is without merit. (Pls.’ Resp. 12, ECF No. 31.)

The absence of an objection from the State’s Attorney would not entitle the Plaintiffs to relief.

The court is not obligated to sustain an objection from the State’s Attorney, nor does her failure

to object require or even allow the court to grant the petition. 735 ILCS 5/21-101(d). A court is

well within its power to deny a name change petition on grounds totally unrelated to a

petitioner’s criminal history. Id. Plaintiffs’ complaints concerning the name change statute

cannot be redressed by a favorable outcome against the State’s Attorney in this case.




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                                    CONCLUSION

        Based upon the foregoing, and the arguments set forth in the State’s Attorney’s

Memorandum in Support of her Motion to Dismiss Complaint, Plaintiffs’ Complaint should be

dismissed in its entirety.



Dated: September 26, 2019                Respectfully submitted,

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